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                EXHIBIT A
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From: Michael Madaio <mmadaio@habbalaw.com>
Sent: Friday, November 3, 2023 4:16 PM
To: Shawn G. Crowley <scrowley@kaplanhecker.com>; Peter Swift <pswift@habbalaw.com>;
Roberta Kaplan <rkaplan@kaplanhecker.com>; Matthew Craig <mcraig@kaplanhecker.com>
Cc: Alina Habba, Esq. <ahabba@habbalaw.com>; Peter Gabra <pgabra@habbalaw.com>
Subject: Re: E. Jean Carroll v. Donald J. Trump - Request for Meet and Confer Conference

   This email was sent from outside the Firm.


Counsel,

We would be willing to agree to a 90-minute deposition of Dr. Humphreys if we are afforded the
opportunity to serve limited written discovery demands which will relate only to the changes in the
supplemental report.

As to the evidentiary issues, please find our position below:

Decisions from Carroll II:

   1. Choice of Counsel: Defendant does not consent to this request at this time. This request is
      premature in light of the pending motion to substitute a new rebuttal expert.

   2. Litigation Funding: Defendant does not consent to this request in its current form. While
      Defendant will not introduce evidence of litigation funding to demonstrate that Plaintiff
      fabricated her allegation of the sexual assault, such evidence may be admissible for other
      purposes (i.e., damages).

   3. DNA Evidence: At this time, Defendant does not consent to this request. This request is
      premature in light of the pending motion to substitute a new rebuttal expert.
   4. Prior Relationship with John Johnson: Contingent upon Plaintiff's confirmation that she will
      not seek damages for emotional or psychological harm (as discussed infra), Defendant agrees
      to not present evidence or testimony relating to Plaintiff’s fight with John Johnson. However,
      Defendant is not willing to consent to the remainder of the request, as it is premature in light
      of the pending motion to substitute a new rebuttal expert.

   5. Federal Rule of Evidence 412: Defendant does not contest the applicability of Rule 412 to this
      action.

Collateral Estoppel:

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   1. Underlying Assault: Defendant does not consent to this request in its current form. While
      Defendant will not introduce evidence intended to prove whether the incident occurred, such
      evidence may be admissible for other purposes (i.e., damages).

   2. Fabrication of Assault: Defendant does not consent to this request in its current form. While
      Defendant will not introduce evidence intended to prove that Plaintiff fabricated the
      incident, such evidence may be admissible for other purposes (i.e., damages).

   3. Motive for Bringing Lawsuit: Defendant does not consent to this request.

In addition, below are the evidentiary issues that we want Plaintiff to address:

   1. Defendant’s Alleged Sexual Misconduct: All evidence, examination, and argument relating to
      allegations of sexual impropriety against Defendant must be precluded. This includes, but is
      not limited to, any testimony from other complainants, such as Natasha Stoynoff and Jessica
      Leeds. Any such evidence is clearly irrelevant to a damages-only trial.

   2. Defendant’s Prior Rebuttal Statements: All evidence, examination, and argument relating to
      statements that Defendant made in response to other women who made claims against him
      should be precluded as irrelevant to the damages-only trial.

   3. Access Hollywood Tape: Plaintiff shall be precluded from presenting any evidence with
      respect to the comments Defendant made in the “Access Hollywood” tape. The comments
      bear no relevance to the issue of damages.

   4. Scope of Damages: We understand from your previous assertion that the Plaintiff does not
      intend to seek damages for any emotional distress or pain and suffering that may have arisen
      from the challenged statements. Nor does it appear that the Amended Complaint is seeking
      damages relating to lost wages or her termination from Elle. It is our understanding that
      Plaintiff is seeking damages relating solely to the reputational harm purportedly caused by the
      subject statements, as further discussed in Professor Humphreys Report. Please confirm
      whether this is accurate, or whether Plaintiff intends to introduce evidence of additional
      damages.


Please let us know your position on these evidentiary issues by Tuesday, November 7. We reserve
the right to supplement this list as needed.



We will make ourselves available for a call early next week if you would like to discuss any of the
above issues.



Regards,


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MICHAEL T. MADAIO, ESQ.
Admitted to Practice in NJ, NY & PA




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From: Shawn G. Crowley <scrowley@kaplanhecker.com>
Sent: Friday, November 3, 2023 11:24 AM
To: Michael Madaio <mmadaio@habbalaw.com>; Peter Swift <pswift@habbalaw.com>; Roberta
Kaplan <rkaplan@kaplanhecker.com>; Matthew Craig <mcraig@kaplanhecker.com>
Cc: Alina Habba, Esq. <ahabba@habbalaw.com>; Peter Gabra <pgabra@habbalaw.com>
Subject: RE: E. Jean Carroll v. Donald J. Trump - Request for Meet and Confer Conference

Thanks, Mike. We expect to be in a position to provide you with Dr. Humphreys’s supplemental
report by Monday 11/13. With respect to your request for additional discovery, we will agree to a
90-minute deposition of Dr. Humphreys that is limited to the topic of her supplemental report. We
do not agree that any additional discovery is warranted at this point. As you know, the expert
discovery deadline passed long ago, and you have now had the benefit of deposing Dr. Humphreys
twice and cross-examining her at trial.

We look forward to your email concerning the evidentiary issues we raised.

Best,
Shawn


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350 Fifth Avenue | 63rd Floor
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        Case 1:20-cv-07311-LAK Document 233-1 Filed 11/20/23 Page 5 of 9


scrowley@kaplanhecker.com


From: Michael Madaio <mmadaio@habbalaw.com>
Sent: Thursday, November 2, 2023 10:21 AM
To: Shawn G. Crowley <scrowley@kaplanhecker.com>; Peter Swift <pswift@habbalaw.com>;
Roberta Kaplan <rkaplan@kaplanhecker.com>; Matthew Craig <mcraig@kaplanhecker.com>
Cc: Alina Habba, Esq. <ahabba@habbalaw.com>; Peter Gabra <pgabra@habbalaw.com>
Subject: Re: E. Jean Carroll v. Donald J. Trump - Request for Meet and Confer Conference

   This email was sent from outside the Firm.


Counsel,

Thank you for the e-mail. Our response is as follows:


Dr. Ashlee Humphreys’s Expert Report

We would consent to the submission of a supplemental report which is modified only to account for
the withdrawal of the June 24 Statement and does not otherwise change Dr. Humphrey's analysis or
incorporate any new information. In addition, we would require limited discovery, including a
deposition, which would relate only to the changes reflected in the report and the basis for same.

Defendant's Request to Substitute a New Expert
We will be filing a letter motion with the Court with respect to this issue since it appears the parties
are unable to resolve this issue absent court intervention.

Evidentiary Issues
We are reviewing the point that you have brought to our attention and will respond in turn. In
addition, we intend to counter-present a number of evidentiary not enumerated in your email that
we would ask for a response on. An e-mail will follow tommorrow.

Regards,
Michael


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From: Shawn G. Crowley <scrowley@kaplanhecker.com>
Sent: Wednesday, November 1, 2023 12:29 PM
To: Peter Swift <pswift@habbalaw.com>; Roberta Kaplan <rkaplan@kaplanhecker.com>; Matthew
Craig <mcraig@kaplanhecker.com>
Cc: Alina Habba, Esq. <ahabba@habbalaw.com>; Michael Madaio <mmadaio@habbalaw.com>;
Peter Gabra <pgabra@habbalaw.com>
Subject: RE: E. Jean Carroll v. Donald J. Trump - Request for Meet and Confer Conference


Counsel,



Thank you for the meet and confer yesterday. Below please find our position on Dr. Humphreys’s
expert report and certain evidentiary issues in the pending trial.



Dr. Ashlee Humphreys’s Expert Report

In light of Plaintiff’s decision not to pursue defamation liability for the June 24, 2019, statement, we
agree to submit a brief supplemental expert report recalculating damages based on the June 21 and
22, 2019, statements alone. The supplemental report will neither change Dr. Humphreys’s analysis
nor incorporate any new information. Moreover, as we previewed yesterday, we expect the
supplemental report will decrease Dr. Humphreys’s damages estimate. We therefore do not agree
that you are entitled to file yet another rebuttal report. And, as we stated in our letter to the Court
on October 17, 2023, ECF 220, we maintain that the June 24, 2019, statement is relevant to malice
and punitive damages.



Evidentiary Issues

As discussed yesterday, there are several evidentiary issues that we believe can be resolved prior to
trial without requiring motion practice. They include, but are not limited to, (1) evidentiary rulings
from Carroll II that should carry over into Carroll I; and (2) evidence, questioning, and argument that
is precluded by Judge Kaplan’s rulings on collateral estoppel and summary judgment.




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Decisions from Carroll II. The Court held that its analysis of evidentiary issues resolved in Carroll I is
“entirely applicable” to Carroll II. Carroll II, ECF 95. The opposite is also true—all evidence that was
precluded in Carroll II should be precluded in Carroll I, including the following:

   1. Choice of Counsel. This Court already held that the “Defendant is precluded from
      commenting upon or eliciting any evidence regarding plaintiff’s choice of counsel or her
      counsel’s activities outside the litigation between plaintiff and defendant.” Carroll II, ECF 95 at
      21–22; see also Trial Tr. 75:2–13. This ruling similarly applies here, and all evidence, argument,
      and questioning addressing Plaintiff’s choice of counsel and their retention should similarly be
      precluded.
   2. Litigation Funding. The subject of litigation funding was entirely precluded in Carroll II. Trial
      Tr. 240:3–19. Not only did the Court find that the subject was irrelevant “in general,” but also
      held that the “unfair prejudicial effect of going into the subject would very substantially
      outweigh any probative value whatsoever.” Trial Tr. 240:14–17. There has been no change in
      circumstances that would alter the premise on which the Court based its decision (indeed, as
                                                                                  after Carroll I was
      Ms. Carroll testified in her deposition, the funding was not received until ---
      filed on November 4, 2019, ECF 6-1, so it is even less relevant in this case). Evidence or
      testimony regarding whether the litigation was funded and by whom, therefore, should be
      precluded in Carroll I just as it was in Carroll II.
   3. DNA. Evidence, examination, or argument regarding the existence of DNA and whether
      Plaintiff laundered her dress should be precluded. The Court was clear in its instruction that
      “DNA will not be uttered in this courtroom.” Trial Tr. at 109:1–2; see also id. 473:24–474:2
      (prohibiting discussion of laundering the dress); Carroll II, ECF 95 at 17 (“[T]he Court excludes
      any evidence or argument by either party concerning DNA.”). The Court determined that any
      cross-examination or argument about the existence of DNA evidence would result in unfair
      prejudice to Plaintiff that “substantially” outweighs any probative value of such evidence.
      Carroll II, ECF 95 at 17. This ruling should apply here, particularly because the issue of whether
      your client sexually abused Ms. Carroll has been decided and will not be relitigated in the
      Carroll I trial. See ECF 214.
   4. Prior Relationships and Fight with John Johnson. Any evidence, questioning, or argument
      raising the name that Plaintiff called John Johnson during one of their fights is also precluded.
      Tr. 208:20–209:4 (finding it irrelevant but noting that “even if it were relevant, in all the
      circumstances, I think it is a subject on which the unfair prejudicial effect, outrageously, not
      substantially, outrageously outweighs any probative value”). Moreover, because Ms. Carroll is
      not seeking damages with respect to emotional or psychological harm in connection with
      Carroll I, any questioning or evidence relating to any of her prior relationships, sexual assaults,
      or sexual relationships should also be precluded.
   5. Federal Rule of Evidence 412. Relatedly, in addition to being irrelevant, all evidence of Ms.
      Carroll’s sexual predisposition should also be precluded under Rule 412. See Carroll II, ECF
      122, 157. In addition to her prior sexual relationships and any prior sexual assaults, this also
      includes her cat’s name, as the Court specifically held at trial. Trial Tr. 642:1–643:5.


Collateral Estoppel. Similarly, the jury’s findings and the Court’s analysis of collateral estoppel


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preclude evidence, questioning, and argument as to several topics, including:
    1. Underlying Assault. All evidence, examination, and argument about the facts of the
       underlying assault and whether it occurred are precluded. The Carroll II jury unanimously
       determined that Defendant sexually abused Plaintiff. On that basis, the Court held that the
       Carroll I trial is limited to “the issue of damages only.” Carroll I, ECF 214 at 4. Any evidence or
       examination regarding the underlying assault would be irrelevant and outside the bounds of
       the Court’s decision regarding collateral estoppel.
    2. Fabrication of Assault. The Court held that the jury’s finding in Carroll II “necessarily implies
       that [the jury] determined by clear and convincing evidence that Ms. Carroll did not fabricate
       her sexual assault accusation.” ECF 214 at 16. As the Court noted, Defendant “does not
       dispute, and implicitly concedes by his repeated assertions, that the jury in Carroll II found by
       clear and convincing evidence that his 2022 statement was false because it determined that
       Ms. Carroll did not fabricate her sexual assault accusation.” Id. at 16 n.29. In light of this, any
       evidence, examination, and argument regarding any motive Plaintiff had to fabricate the
       assault is precluded. This includes any alleged political or financial motivation, as well as the
       Law & Order: Special Victims Unit episode, titled “Theater Tricks,” as its only relevance would
       be to fabrication of the assault. At trial in Carroll II, the Court made it clear that discussion of
       the SVU episode was precluded to the extent that it is was used to infer that Ms. Carroll
       fabricated her claims, and thus it has no relevance here. See Trial Tr. at 1366:25–1367:15.
    3. Motive for Bringing the Lawsuit. Similarly, any evidence, examination, and argument
       regarding Plaintiff’s motivation for filing suit, including her choice of counsel, how she
       retained counsel, and her conversation with George Conway, must similarly be precluded as
       they are irrelevant to the damages caused by Mr. Trump’s June 2019 statements.

Please let us know your position on these evidentiary issues by November 3. We reserve the right
to supplement this list as needed.

Thank you,
Shawn

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From: Peter Swift <pswift@habbalaw.com>
Sent: Friday, October 27, 2023 4:27 PM
To: Roberta Kaplan <rkaplan@kaplanhecker.com>; Shawn G. Crowley
<scrowley@kaplanhecker.com>; Matthew Craig <mcraig@kaplanhecker.com>
Cc: Alina Habba, Esq. <ahabba@habbalaw.com>; Michael Madaio <mmadaio@habbalaw.com>;
Peter Gabra <pgabra@habbalaw.com>
Subject: E. Jean Carroll v. Donald J. Trump - Request for Meet and Confer Conference

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Counsel:

As you know, we represent the Defendant, Donald J. Trump, in the above-referenced matter. We
would like to schedule a meet and confer conference call on Monday, October 30, 2023, to discuss
several issues involving the parties’ expert reports. Please let us know your availability for a meet
and confer conference at your earliest convenience. Thank you.

Regards,
Peter


PETER A. SWIFT, ESQ.
Admitted to Practice in NJ & NY




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